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10                             UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF CALIFORNIA
11

12   THERESA SWEET, ALICIA DAVIS, TRESA                 Case No.: 19-cv-03674-WHA
     APODACA, CHENELLE ARCHIBALD,
13   DANIEL DEEGAN, SAMUEL HOOD, and
     JESSICA JACOBSON on behalf of themselves
14   and all others similarly situated,                 [PROPOSED ORDER]
15                 Plaintiffs,                          (Class Action)
16                                                      (Administrative Procedure Act Case)
                   v.
17
     MIGUEL CARDONA, in his official capacity
18   as Secretary of the United States Department of
     Education, and
19

20   THE UNITED STATES DEPARTMENT OF
     EDUCATION,
21
                   Defendants.
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24
            Upon consideration of Plaintiffs’ Motion to Enforce Settlement Agreement, it is hereby
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     ORDERED that the motion is GRANTED. The Court finds as follows:
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            1)     This Court has jurisdiction to decide this motion. See Kokkonen v. Guardian Life
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                                                         1
28
                                        [Proposed] Order on Plaintiffs’ Motion to Enforce Settlement Agreement
                                                                                   Case No.: 19-cv-03674-WHA
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 1   Ins. Co. of Am., 511 U.S. 375, 381 (1994); Hoffman by & for N.L.R.B. v. Beer Drivers &

 2   Salesmen’s Local Union No. 888, 536 F.2d 1268, 1276 (9th Cir. 1976).

 3          2)      Defendants have materially breached Section IV.A.1 of the parties’ Settlement

 4   Agreement of June 22, 2022 (ECF No. 246-1), by failing to deliver Full Settlement Relief to all

 5   members of the automatic relief group by the deadline of January 28, 2024.

 6          3)      Defendants have not provided the relief for this breach that is contemplated by the

 7   Settlement Agreement.

 8          4)      Defendants are hereby ORDERED to effectuate Full Settlement Relief for each and

 9   every member of the automatic relief group by or before May 31, 2024.

10          5)      Defendants are ORDERED to report to Plaintiffs’ Counsel and the Court on their

11   progress of issuing relief at 14-day intervals, beginning 14 days after the date of this Order.

12          6)      These reports shall include (but need not be limited to) the numbers of Class

13   Members in the automatic relief group who:

14                      a. Are confirmed to have received each of the following categories of relief:

15                               i. Discharges of all Relevant Loan Debt;

16                              ii. All refunds to which they are entitled; and

17                             iii. A request sent from their current loan servicer(s) to all credit

18                                    reporting agencies to remove the credit tradeline for all Relevant

19                                    Loan Debt from their credit reports.

20                      b. Are confirmed to have not received each of the following categories of

21                          relief:

22                               i. Discharges of all Relevant Loan Debt;

23                              ii. All refunds to which they are entitled; and

24                             iii. A request sent from their current loan servicer(s) to all credit

25                                    reporting agencies requesting removal of the credit tradeline for all

26                                    Relevant Loan Debt from their credit reports.

27                      c. Have not had their relief status confirmed by the Department as to each of
                                                         2
28
                                            [Proposed] Order on Plaintiffs’ Motion to Enforce Settlement Agreement
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 1                           the following categories of relief:

 2                               i. Discharges of all Relevant Loan Debt;

 3                               ii. All refunds to which they are entitled; and

 4                              iii. A request sent from their current loan servicer(s) to all credit

 5                                   reporting agencies requesting removal of the credit tradeline for all

 6                                   Relevant Loan Debt from their credit reports.

 7                        d. For Class Members in categories (b) and (c), including all subcategories,

 8                           how many Class Members are serviced by each of the federal loan servicers.

 9                        e. For Class Members in categories (b)(i) and (c)(i), how many are confirmed

10                           by the Department to currently have their Relevant Loan Debt (including

11                           consolidation loans that contain Relevant Loan Debt) in a status of

12                           forbearance, stopped collections, or $0 monthly payments under any of the

13                           available income-driven repayment plans.

14                        f. For any Class Members in categories (b)(i) and (c)(i) who are not currently

15                           in such status, how many of them are serviced by each of the federal loan

16                           servicers.

17           7)      The reports shall also include a description of the steps the Department has taken

18   to verify that these reported numbers are accurate.

19           8)      The description of steps and the veracity of the data in the reports shall be attested

20   to under oath by the Chief Operating Officer of Federal Student Aid or his designee, provided that

21   such designee is another senior official with supervisory authority over the process of effectuating

22   settlement relief.

23           9)      At Plaintiffs’ Counsel’s request, Defendants shall provide to Plaintiffs’ Counsel

24   (with appropriate confidentiality safeguards) the names, contact information, and current servicer

25   of Class Members in any of the above categories so that Plaintiffs can provide updated information

26   directly to Class Members and/or seek confirmation of their relief status.

27           10)     Defendants are ORDERED to pay Plaintiffs’ Counsel’s reasonable attorneys’ fees
                                                    3
28
                                           [Proposed] Order on Plaintiffs’ Motion to Enforce Settlement Agreement
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 1   and costs incurred in bringing this motion. Plaintiffs’ Counsel shall present their accounting of

 2   fees and costs to Defendants within 30 days of this Order.

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 4          IT IS SO ORDERED.

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 6   Dated: _________________

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                                         [Proposed] Order on Plaintiffs’ Motion to Enforce Settlement Agreement
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